                           Case 19-24331-PDR           Doc 23-1       Filed 12/09/19       Page 1 of 1
                                        UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                                www.flsb.uscourts.gov

IN RE:                                                CASE NO. 19-24331-BKC-JKO
                                                      CHAPTER 13
RALPH LEVI SANDERS, JR.
__________________________/

                 DEBTOR’S NOTICE OF COMPLIANCE WITH REQUIREMENTS FOR AMENDING
                                      CREDITOR INFORMATION

This notice is being filed in accordance with Local Rules 1007-2(B), 1009-1(D), or 1019-1(B) upon the filing of an
 amendment to the debtor’s lists, schedules or statements, pursuant9358 to Bankruptcy Rules 1007, 1009, or 1019. I certify
 that:

 [ ]     The paper filed adds creditor(s) as reflected on the attached list (include name and address of each creditor being
         added). I have:
         1.   remitted the required fee (unless the paper is a Bankruptcy Rule 1019(5) report);
         2.   provided the court with a supplemental matrix of only the added creditors on a CD or memory stick in
              electronic text format (ASCII or MS-DOS text), or electronically uploaded the added creditors in CM/ECF;
         3.   provided notice to affected parties, including service of a copy of this notice and
              a copy of the §341 or post conversion meeting notice [see Local Rule 1009-1(D)(2)] and filed a certificate of
              service in compliance with the court [see Local Rule 2002-1(F)]; and
         4.   filed an amended schedule(s) and summary of schedules.

 [ ]     The paper filed deletes a creditor(s) as reflected on the attached list (include name and address of each
         creditor being deleted). I have:
         1.    remitted the required fee;
         2.    provided notice to affected parties and filed a certificate of service in compliance with the court [see
               Local Rule 2002-1(F)]; and
         3.    filed an amended schedule(s) and summary of schedules.

 [ ]     The paper filed corrects the name and/or address of a creditor(s) as reflected on the attached list. I have:
         1.   provided notice to affected parties, including service of a copy of this notice and a copy of
              the §341 or post conversion meeting notice [see Local Rule 1009-1(D)(2)] and filed a certificate of service
              in compliance with the court [see Local Rule 2002-1(F)]; and
         2.   filed an amended schedule(s) or other paper.

 [ ]     The paper filed corrects schedule D, E or F amount(s) or classification(s). I have:
         1.   remitted the required fee;
         2.   provided notice to affected parties and filed a certificate of service in compliance with the court [see Local
              Rule 2002-1(F)]; and
         3.   filed an amended schedule(s) and summary of schedules.

 [X]      None of the above apply. The paper filed does not require an additional fee, a supplemental matrix, or notice
         to affected parties. It  does □ does not require the filing of an amended schedule and summary of schedules.

 I also certify that, if required to be filed by the Bankruptcy Rules, the official form “Declaration Concerning Debtor’s
 Schedules” has been signed by each debtor as required by Local Rules 1007-2(B), 1009-1(A)(2) and (D)(1), or 1019-1(B)
 and, if filed electronically without imaged signatures, a local form “Declaration Under Penalty of Perjury to Accompany
 Petitions, Schedules and Statements Filed Electronically” accompanied the filing of the document.

 Dated: 12/09/2019

  /s/ Michael H. Johnson, Esq.
 Attorney for Debtor (or Debtor, if pro se)                       Joint Debtor (if applicable)
        Michael H. Johnson, Esq.
 Print Name                                                       Address

        0149543
 Florida Bar Number                                               Phone Number
